       4:03-cr-03085-RGK-DLP          Doc # 172      Filed: 08/02/05      Page 1 of 2 - Page ID # 628




                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                               )   Case No. 4:03CR3085-5
                                                        )
                                     Plaintiff,         )
                                                        )   SECOND AMENDED ORDER
       vs.                                              )   ON SENTENCING SCHEDULE
                                                        )
VERNON STRAUCH,                                         )
                                                        )
                                     Defendant.         )


        IT IS ORDERED that the defendant’s motion to extend deadline to assert objections to presentence
investigation report (filing 171) is granted.

       IT IS FURTHER ORDERED that the following deadlines and procedures are reset in this case:

4.     August 15, 2005: Objections by counsel to the initial presentence report;

5.     August 25, 2005: Probation office's submission to the judge and counsel of initial or revised
       presentence report with changes, if any, responsive to counsels’ objections, and, if needed, an addendum
       explaining the probation officer’s position regarding any objections to the presentence report previously
       submitted by counsel;

6.     September 1, 2005:
             (a) Any proposals to the probation office for community service, community confinement,
             intermittent confinement or home detention;

              (b) Motions to the court:
                    (1) for departure under the guidelines (including, but not limited to, motions by the
                    government) ; and
                    (2) for deviation or variance from the guidelines as allowed by the Supreme Court’s
                    decision in United States v. Booker, 125 S. Ct. 738 (2005) or its progeny;

              (c) Counsel's filing and serving on all other parties and the probation officer a written statement
              of position respecting each of the unresolved objections to the presentence report, including the
              specific nature of each objection to the presentence report.

              (d) If evidence is to be offered in support of or in opposition to a motion under subparagraph (b)
              of this paragraph or in support of or in opposition to an objection under subparagraph (c) of this
              paragraph 6, it must be: by affidavit, letter, report or other document attached to the statement of
              position or by oral testimony at the sentencing hearing. If oral testimony is desired, a request
              must be made in the statement of position and the statement of position must reveal (1) the
              nature of the expected testimony, (2) the necessity for oral testimony, instead of documentary
              evidence, such as affidavits, (3) the identity of each proposed witness, and (4) the length of time
              anticipated for presentation of the direct examination of the witness or witnesses. If a request for
              oral or documentary evidence is made by one party but not by the adverse party, the adverse
       4:03-cr-03085-RGK-DLP            Doc # 172      Filed: 08/02/05      Page 2 of 2 - Page ID # 629




               party within five working days thereafter may make a responsive request for oral or
               documentary evidence, setting out details in the same manner as required by this paragraph 6(d).

               (e) Motions for departure should be supported by a brief that explains why the departure from
               the guideline sentencing range is justified by normal guideline departure theory. Motions for
               deviation or variance from the guidelines as allowed under Booker or its progeny should be
               supported by a brief that explains why a sentence other than that called for under the guidelines
               is justified by a principle of law that is different in kind or degree from the normal principles of
               law applied under a strict application of the guidelines.

               (f) It is expected that any objection first raised in a party’s statement of position will be
               addressed at the judge’s discretion, and that no consideration will be given to any sentencing
               factor first raised after the filing of the written statement.

7.     September 8, 2005: Judge's notice to counsel of rulings, tentative findings, whether oral testimony is to
       be permitted, and how objections to tentative findings may be made; and

8.     September 16, 2005, at 12:30-1:30 p.m.: Sentencing before Judge Kopf.

The probation officer is directed to provide copies of any sentencing recommendation to counsel for the
government and counsel for the defendant at the time the recommendation is submitted to the sentencing judge.

The dates in paragraphs 3 and 4 of this order may be altered by written notice to counsel and the judge by the
probation office.

       August 2, 2005.                                BY THE COURT:

                                                      s/ Richard G. Kopf
                                                      United States District Judge
